Case 20-32181-KLP              Doc 458       Filed 06/08/20 Entered 06/08/20 16:07:15                       Desc Main
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     WEIL, GOTSHAL & MANGES LLP                                     HUNTON ANDREWS KURTH LLP
     Ray C. Schrock, P.C. (admitted pro hac vice)                   Tyler P. Brown (VSB No. 28072)
     Ryan Preston Dahl (admitted pro hac vice)                      Henry P. (Toby) Long, III (VSB No. 75134)
     Candace M. Arthur (admitted pro hac vice)                      Nathan Kramer (VSB No. 87720)
     Daniel Gwen (admitted pro hac vice)                            Riverfront Plaza, East Tower
     767 Fifth Avenue                                               951 East Byrd Street
     New York, New York 10153                                       Richmond, Virginia 23219
     Telephone: (212) 310-8000                                      Telephone: (804) 788-8200
     Facsimile: (212) 310-8007                                      Facsimile: (804) 788-8218

     Proposed Attorneys for Debtors and Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :          Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                              :
                                     Debtors.    1            :          (Jointly Administered)
                                                              :
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                               DECLARATION OF RYAN A. SCHREIBER,

                           ON BEHALF OF SCHREIBER PULVIRENTI LLC

                    I, Ryan A. Schreiber, pursuant to 28 U.S.C. § 1746, hereby declare that the

 following is true to the best of my knowledge, information, and belief:

                    1.       I am the Managing Member of Schreiber Pulvirenti LLC, located at 160

 Mountain Avenue, Park Ridge, NJ 07656 (the “Professional”).




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.
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                     2.        Chinos Holdings, Inc. and its above-captioned debtor affiliates, as debtors

 and debtors in possession (collectively, the “Debtors”), have requested that the Professional

 provide real estate legal services to the Debtors, and the Professional has consented to provide

 such services (the “Services”).

                     3.        The Services include the following: negotiation of lease documents and

 related real estate leasing advice as assigned.

                     4.        The Professional may have performed services in the past and may perform

 services in the future, in matters unrelated to these chapter 11 cases, for persons that are parties in

 interest in the Debtors’ chapter 11 cases. As part of its customary practice, the Professional is

 retained in cases, proceedings, and transactions involving many different parties, some of whom

 may represent or be claimants, employees of the Debtors, or other parties in interest in these

 chapter 11 cases. The Professional does not perform services for any such person in connection

 with these chapter 11 cases. In addition, the Professional does not have any relationship with any

 such person, their attorneys, or their accountants that would be adverse to the Debtors or their

 estates.

                     5.        Neither I nor any principal of or professional employed by the Professional

 has agreed to share or will share any portion of the compensation to be received from the Debtors

 with any other person other than the principals and regular employees of the Professional.

                     6.        Neither I nor any principal of or professional employed by the Professional,

 insofar as I have been able to ascertain, holds or represents any interest adverse to the Debtors or

 their estates.

                     7.        As of the date of the commencement of their chapter 11 cases, the Debtors

 owed the Professional $8,390.00 in respect of prepetition services rendered to the Debtors.



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     Proposed Attorneys for Debtors and Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :          Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                              :
                                     Debtors.    1            :          (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x


                                       RETENTION QUESTIONNAIRE

 To be completed by professionals seeking employment as “Ordinary Course Professionals” of
 Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession (collectively,
 the “Debtors”).




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
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 DO NOT FILE THIS QUESTIONNAIRE WITH THE COURT.
 RETURN IT FOR FILING BY THE DEBTORS TO:

  WEIL, GOTSHAL & MANGES LLP                                  HUNTON ANDREWS KURTH LLP
  Ray C. Schrock, P.C. (admitted pro hac vice)                Tyler P. Brown (VSB No. 28072)
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  Facsimile: (212) 310-8007                                   Facsimile: (804) 788-8218

  Proposed Attorneys for Debtors and Debtors in Possession

        All questions must be answered. Please use “none,” “not applicable,” or “N/A,” as
 appropriate. If more space is needed, please complete on a separate page and attach.

      1. Name and address of professional:

           Schreiber Pulvirenti LLC

           160 Mountain Avenue

           Park Ridge, NJ 07656

      2. Date of retention:         January 2, 2019

      3. Type of services to be provided (accounting, legal, etc.):

           Legal



      4. Brief description of services to be provided:

           Real estate lease negotiations and related advice



      5. Arrangements for compensation (hourly, contingent, etc.):

                a. Average hourly rate (if applicable): Fixed fee of $1,500.00 for original lease

                     amendments, $750.00 for amendments conformed to an original, and $8,000.00 for

                     new full leases. All other real estate leasing advice to be billed at $300.00 per hour.


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                b. Estimated average monthly compensation based on prepetition retention (if

                     company was employed prepetition):

           $6,000.00

      6. Prepetition claims against the Debtors held by the company:

           Amount of claim: $8,390.00

           Date claim arose: Invoice 289 for $240.00 issued 3/1/20; invoice 290 for $8,000.00 issued

           3/1/20; invoice 313 for $60.00 issued 4/1/20; invoice 336 for $90.00 issued 5/1/20

           Nature of claim: Unpaid legal fees

      7. Prepetition claims against the Debtors held individually by any member, associate, or
         employee of the company:

           Name: N/A

           Status:

           Amount of claim: $

           Date claim arose:

           Nature of claim:



      8. Disclose the nature and provide a brief description of any interest adverse to the Debtors
         or to their estates for the matters on which the professional is to be employed:

           None




      9. Name and title of individual completing this form:

           Ryan A. Schreiber, Managing Member

      Dated: June 3, 2020



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